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 1                                                                  The Honorable Benjamin H. Settle

 2

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 6

 7                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9   LINDA GILMER,
10                                                    CASE NO. 3:16-cv-05685-BHS
            Plaintiff,
11                                                    ANSWER OF DEFENDANT
     v.                                               COORDINATED CARE CORPORATION
12                                                    TO PLAINTIFF’S COMPLAINT
     CENTENE CORPORATION, CENTENE
13   MANAGEMENT COMPANY, LLC,
     COORDINATED CARE
14   CORPORATION,
15          Defendants.
16

17          COMES NOW Defendant Coordinated Care Corporation (“Defendant Coordinated

18   Care”), by and through counsel, and in response to Plaintiff Linda Gilmer’s (“Plaintiff”)

19   Complaint, states as follows:

20                                                PARTIES

21          1.      Defendant Coordinated Care admits that Plaintiff was employed by Defendant

22   Centene Management Company. Defendant Coordinated Care is without sufficient information

23   or knowledge to admit or deny the remaining allegations contained in paragraph 1 of the

24   Complaint and, therefore, denies the same.

25

26

     ANSWER OF DEF COORDINATED CARE CORPORATION - 1                           LITTLER MENDELSON, P.C.
                                                                                    One Union Square
     Case No. 3:16-cv-05685 BHS                                              600 University Street, Suite 3200
                                                                                 Seattle, WA 98101.3122
                                                                                       206.623.3300
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 1          2.        In response to paragraph 2 of the Complaint, Defendant Coordinated Care states
 2   that the Sarbanes-Oxley Act of 2002, 18 U.S.C. 1541A is the best evidence of its contents.
 3
     Defendant Coordinated Care admits the remaining allegations contained in paragraph 2 of the
 4
     Complaint.
 5
            3.        Defendant Coordinated Care admits the allegations contained in paragraph 3 of
 6

 7   the Complaint.

 8          4.        Defendant Coordinated Care admits that it is a wholly-owned subsidiary of

 9   Centene Corporation organized under the laws of the State of Washington and that Coordinated
10
     Care’s financial information is included in the consolidated financial statements of Centene
11
     Corporation. Defendant Coordinated Care denies the remaining allegations of paragraph 4 of the
12
     Complaint not expressly admitted.
13
                                      JURISDICTION AND VENUE
14

15          5.        Defendant Coordinated Care admits the allegations contained in paragraph 5 of

16   the Complaint.
17          6.        Defendant Coordinated Care admits that Plaintiff filed a Complaint with the
18
     Secretary of Labor. Defendant Coordinated Care is without sufficient information or knowledge
19
     to admit or deny the remaining allegations contained in paragraph 6 of the Complaint and,
20
     therefore, denies the same.
21
            7.        Defendant Coordinated Care denies the allegations contained in paragraph 7 of
22

23   the Complaint.

24

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     ANSWER OF DEF COORDINATED CARE CORPORATION - 2                         LITTLER MENDELSON, P.C.
                                                                                  One Union Square
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                                                                               Seattle, WA 98101.3122
                                                                                     206.623.3300
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 1                                                   FACTS
 2          8.        Defendant Coordinated Care admits that it is a subsidiary of Defendant Centene
 3
     Corporation that operates in the State of Washington. Defendant Coordinated Care denies the
 4
     remaining allegations of paragraph 8 of the Complaint not expressly admitted.
 5
            9.        Defendant Coordinated Care admits the allegations contained in paragraph 9 of
 6

 7   the Complaint.

 8          10.       Defendant Coordinated Care admits that Plaintiff was tasked with assisting in

 9   claims processing issues for various Coordinated Care network providers.                  Defendant
10
     Coordinated Care denies the remaining allegations of paragraph 10 of the Complaint not
11
     expressly admitted.
12
            11.       Defendant Coordinated Care admits that Plaintiff was tasked with addressing
13
     issues related to the Doctors Clinic.      Defendant Coordinated Care denies the remaining
14

15   allegations of paragraph 11 of the Complaint not expressly admitted.

16          12.       Defendant Coordinated Care denies the allegations contained in paragraph 12 of
17   the Complaint.
18
            13.       Defendant Coordinated Care denies the allegations contained in paragraph 13 of
19
     the Complaint.
20
            14.       Defendant Coordinated Care admits that Plaintiff’s employment was terminated
21
     on June 12, 2015 in a meeting with Sally Mildren and Michelle Eagan and that Plaintiff was
22

23   offered a severance. Defendant Coordinated Care denies the remaining allegations of paragraph

24   14 of the Complaint not expressly admitted.
25

26

     ANSWER OF DEF COORDINATED CARE CORPORATION - 3                          LITTLER MENDELSON, P.C.
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 1                                              COUNT ONE
 2          15.       Defendant Coordinated Care incorporates by reference its responses in the
 3
     preceding paragraphs as if fully set forth herein.
 4
            16.       Defendant Coordinated Care admits the allegations contained in paragraph 16 of
 5
     the Complaint.
 6

 7          17.       Defendant Coordinated Care denies the allegations contained in paragraph 17 of

 8   the Complaint.

 9          18.       In response to paragraph 18 of the Complaint, Defendant Coordinated Care states
10
     that the Sarbanes-Oxley Act of 2002, 18 U.S.C. 1541A is the best evidence of its contents.
11
     Defendant Coordinated Care admits the remaining allegations contained in paragraph 18 of the
12
     Complaint.
13
            19.       Defendant Coordinated Care denies the allegations contained in paragraph 19 of
14

15   the Complaint.

16          20.       Defendant Coordinated Care denies the allegations contained in paragraph 20 of
17   the Complaint.
18
            21.       Defendant Coordinated Care admits that Plaintiff’s employment was terminated
19
     on June 12, 2015. Defendant Coordinated Care denies the remaining allegations of paragraph 21
20
     of the Complaint not expressly admitted.
21
            22.       Defendant Coordinated Care denies the allegations contained in paragraph 22 of
22

23   the Complaint.

24          23.       Defendant Coordinated Care denies the allegations contained in paragraph 23 of
25   the Complaint.
26

     ANSWER OF DEF COORDINATED CARE CORPORATION - 4                          LITTLER MENDELSON, P.C.
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 1             24.    Defendant Coordinated Care denies the allegations contained in paragraph 24 of
 2   the Complaint.
 3
               25.    Defendant Coordinated Care denies the allegations contained in paragraph 25 of
 4
     the Complaint.
 5
               26.    Defendant Coordinated Care denies the allegations contained in paragraph 26 of
 6

 7   the Complaint.

 8             27.    Defendant Coordinated Care denies the allegations contained in paragraph 27 of

 9   the Complaint.
10
               28.    Defendant Coordinated Care denies the allegations contained in paragraph 28 of
11
     the Complaint.
12
                                   ANSWER TO PLAINTIFF’S PRAYER
13
               Defendant denies that Plaintiff is entitled to any of the relief or damages requested in her
14

15   Complaint or to any relief at all.

16                               AFFIRMATIVE AND OTHER DEFENSES

17             Defendant Coordinated Care asserts the following separately numbered defenses and
18   affirmative defenses without assuming any burden of proof that it does not have as a matter of
19
     law. To the extent that any defenses or legal theories asserted herein may be interpreted as being
20
     inconsistent, such defenses or legal theories are hereby pled in the alternative. Subject to and
21
     without waiving the foregoing, and without waiving Plaintiff’s burden to show otherwise,
22
     Defendant pleads as follows:
23

24             1.     All allegations of fact and conclusions of law not specifically admitted herein are

25   denied.
26

     ANSWER OF DEF COORDINATED CARE CORPORATION - 5                              LITTLER MENDELSON, P.C.
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 1          2.      Plaintiff’s Complaint fails in whole or in part to state a claim upon which relief
 2   may be granted.
 3
            3.      Plaintiff’s prayer for relief fails to the extent that Plaintiff has not mitigated her
 4
     damages as required by law, and to the extent Plaintiff has mitigated her damages, Defendant
 5
     Coordinated Care is entitled to offset those amounts.
 6

 7          4.      Plaintiff’s claims are barred in whole or in part by the doctrines of waiver,

 8   estoppel, laches, and/or unclean hands.

 9          5.      Plaintiff’s claims are barred in whole or in part by her failure to exhaust her
10
     administrative remedies and/or prerequisites.
11
            6.      Plaintiff’s claims for compensatory and punitive damages and other relief are
12
     subject to all applicable statutory caps and limitations.
13
            7.      All alleged actions, events, injuries and/or damages complained of by Plaintiff,
14

15   the existence of which are denied by Defendant Coordinated Care were, if they occurred, wholly

16   or in part the result of Plaintiff’s own conduct or fault.
17          8.      Plaintiff’s claims for punitive damages are barred by and violate the Due Process
18
     Clause of the Fifth and Fourteenth Amendments of the United States Constitution because the
19
     procedures for assessing punitive damages, facially and as applied to the facts of this case violate
20
     constitutional due process requirements.
21
            9.      To the extent that Plaintiff is seeking punitive damages, those claims are barred
22

23   because Defendant Coordinated Care did not engage in retaliatory conduct with malice or

24   reckless indifference toward Plaintiff, and Defendant Coordinated Care exercised reasonable
25

26

     ANSWER OF DEF COORDINATED CARE CORPORATION - 6                             LITTLER MENDELSON, P.C.
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 1   care and made good faith efforts to prevent retaliatory conduct in accordance with all applicable
 2   laws.
 3
             10.     Plaintiff’s claims are barred insofar as they exceed the scope of allegations made
 4
     before any administrative agencies.
 5
             11.     Plaintiff’s claims are barred insofar as she seeks damages not recoverable under
 6

 7   the applicable statutes.

 8           12.     Plaintiff’s claims are frivolous and without foundation in law or fact, and

 9   Defendant Coordinated Care is entitled to its costs and attorney’s fees in defending this action.
10
             13.     Defendant Coordinated Care avers that even if Plaintiff could prove that she was
11
     retaliated against, which Defendant Coordinated Care denies, the same decision would have been
12
     made due to legitimate, non-discriminatory, and non-retaliatory reasons.
13
             14.     Defendant Coordinated Care asserts the after-acquired evidence doctrine.
14

15           15.     Plaintiff’s claims fail because she cannot establish damages and her damage

16   claims are speculative.
17           16.     Plaintiff is not entitled to liquidated damages because any alleged acts or
18
     omissions of Defendant Coordinated Care were undertaken or made in good faith, and Defendant
19
     Coordinated Care had reasonable grounds for believing that its acts or omissions did not violate
20
     the applicable statutes.
21
             17.     Plaintiff is not entitled to recover any costs of this proceeding or attorneys’ fees
22

23   from Defendant Coordinated Care.

24           18.     Defendant Coordinated Care asserts the defenses of acquiescence and/or
25   ratification.
26

     ANSWER OF DEF COORDINATED CARE CORPORATION - 7                            LITTLER MENDELSON, P.C.
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 1          19.     Plaintiff has suffered no adverse employment action that is in any way related to
 2   any alleged retaliation.
 3
            20.     Pleading hypothetically and in the alternative, Plaintiff’s claims are barred
 4
     because all decisions regarding Plaintiff’s employment have been based on legitimate, lawful,
 5
     non-discriminatory, and non-retaliatory business reasons.
 6

 7          21.     Defendant Coordinated Care hereby gives notice that it intends to rely upon such

 8   other defenses as may become available or ascertained during the course of discovery and further

 9   investigation in this case and hereby reserves the right to amend this answer to assert any such
10
     defenses.
11
                                DEFENDANT’S PRAYER FOR RELIEF
12
            WHEREFORE, having fully answered Plaintiff’s Complaint, Defendant Coordinated
13
     Care prays that Plaintiff take nothing by way of her Complaint, for judgment in its favor, for its
14

15   costs and reasonable attorneys’ fees expended and incurred herein, and for such other and further

16   relief as the Court deems just and proper.

17   Dated: December 20, 2016
18                                                 By:    s/ Breanne Sheetz Martell
19                                                       Douglas E. Smith, WSBA #17319
                                                         Breanne Sheetz Martell, WSBA #39632
20                                                       LITTLER MENDELSON, P.C.
                                                         600 University Street, Suite 3200
21                                                       Seattle, WA 98101
                                                         206.623.3300
22                                                       206.447.6965 (Facsimile)
                                                         desmith@littler.com
23                                                       bsmartell@littler.com

24                                                       and
25

26

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 3
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                                            bbakker@armstrongteasdale.com
 6

 7                                          Attorneys For Defendants
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     ANSWER OF DEF COORDINATED CARE CORPORATION - 9             LITTLER MENDELSON, P.C.
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                                                                         206.623.3300
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 1                                      CERTIFICATE OF SERVICE

 2            I am a resident of the State of Washington, over the age of eighteen years, and not a party

 3   to the within action. My business address is One Union Square, 600 University Street, Ste. 3200,

 4   Seattle, WA 98101. On December 20, 2016, I electronically filed the foregoing document with

 5   the Clerk of the Court using the CM/ECF, which will send notification of such filing to the

 6   following:

 7             Attorney for Plaintiff

 8             Lewis M. Galloway
               PRO HAC VICE PENDING
 9
               lewis@lglawllc.com
10             LG LAW LLC
               1600 Genessee St.
11             Suite 918
               Kansas City, MO 64102
12             Phone:       877.887.7608
               Fax:         816.326.0820
13

14
              Executed on this 20th day of December, 2016.
15

16                                          s/ Sally Swearinger
                                            Sally Swearinger
17                                          LITTLER MENDELSON P.C.
18                                          sswearinger@littler.com

19

20

21   Firmwide:144501228.1 082220.1018

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     ANSWER OF DEF COORDINATED CARE CORPORATION - 10                           LITTLER MENDELSON, P.C.
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